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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
URBAN AIR INITIATIVE, INC., et al., )
                                     )
               Plaintiffs,           )
                                     )    Civil Action No. 15-1333 (ABJ)
                v.                   )    ECF
                                     )
ENVIRONMENTAL PROTECTION             )
AGENCY,                              )
                                     )
               Defendant.            )
____________________________________)

                      MOTION TO ENLARGE TIME TO FILE
                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Fed. R. Civ. P. 6(b)(1)(A), the United States Environmental Protection

Agency (“Defendant” or “EPA”), by and through the undersigned counsel, respectfully moves

for an enlargement of time until December 4, 2018, to file Defendant’s Motion for Summary

Judgment. In support hereof, Defendant states the following good cause:

       1.      Pursuant to the Court’s Minute Order October 30, 2018, Defendant’s Motion for

Summary Judgment is now due.

       2.      The undersigned respectfully requests this enlargement due to the press of

business and because, due to a family obligation, the undersigned returned later than planned

from leave taken over the Thanksgiving break. Under these time constraints, the undersigned

had dedicated more time attempting to reach a global resolution of this action than he had been

able to dedicate to the motion. In addition, the undersigned filed one pleading yesterday and has

another summary judgment due today in another action.
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       3.      Thus, the undersigned is regrettably constrained to request this enlargement, but

the requested enlargement does not change the overall due date of briefing in this action because

the undersigned had added four days to Plaintiff’s response time and reduced Defendant’s time

to file a Reply accordingly.

       4.      Pursuant to LCvR 7(m), the undersigned conferred with Opposing Counsel who

did not consent to this request. It does not appear that the requested enlargement prejudices

Plaintiff as the overall briefing schedule does not change.

November 30, 2018                             Respectfully submitted,


                                              JESSIE K. LIU, D.C. Bar No. 472845
                                              United States Attorney
                                              for the District of Columbia

                                              DANIEL F. VAN HORN, D.C. Bar # 924092
                                              Civil Chief
                                              By:             /s/
                                              KENNETH ADEBONOJO
                                              Assistant United States Attorney
                                              Judiciary Center Building
                                              555 4th Street, N.W. B Civil Division
                                              Washington, D.C. 20530
                                              (202) 252-2562
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
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                                     )
URBAN AIR INITIATIVE, INC., et al., )
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               Plaintiffs,           )
                                     )    Civil Action No. 15-1333 (ABJ)
                v.                   )    ECF
                                     )
ENVIRONMENTAL PROTECTION             )
AGENCY,                              )
                                     )
               Defendant.            )
____________________________________)

                                            ORDER

       After considering this motion, the record herein, and applicable law,

       it is this ____ day of ________________, 201_, hereby

       ORDERED, that the Defendant’s motion is hereby GRANTED; and it is

       FURTHER ORDERED, that Defendant’s Motion for Summary Judgment is due no

later than December 4, 2018; Plaintiff’s Opposition is due on or before January 11, 2019; and

Defendant’s Reply is due on or before January 31, 2019.



                                              HON. AMY BERMAN JACKSON, U.S.D.J.
DATE
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                               CERTIFICATE OF SERVICE

       I certify that I caused a copy of the foregoing Defendant’s Motion to Enlarge Time to be

served upon Plaintiffs’ counsel via ECF.

                                                                            /s/
                                            KENNETH ADEBONOJO
                                            Assistant United States Attorney




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